      Case 4:07-cr-00325-SWW   Document 21    Filed 06/24/08   Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                               NO. 4:07CR00325-002 SWW

DALILA DELA ROSA-AGUILERA



                                  ORDER

      Pursuant to the government's motion for dismissal of the indictment

against the above defendant pursuant to Rule 48(a) of the Federal Rules

of Criminal Procedure,

      IT IS ORDERED that the government’s motion be, and it hereby is,

granted, and the indictment pending in the above case hereby is dismissed

against separate defendant Dalila Dela Rosa-Aguilera only.

      DATED this 24th day of June, 2008.



                                          /s/Susan Webber Wright

                                          UNITED STATES DISTRICT JUDGE
